          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

DELTA MEDICAL SYSTEMS, INC.,

      Plaintiff,
v.
DRE HEALTH CORP., DRE HEALTH
                             Civil Action No.: 1:21-cv-01687-WMR
CORPORATION, AHMED ISAAC
BAWANY, and SACATELLE        Jury Trial Requested
HOLDINGS, LLC,
      Defendants.




     BRIEF IN SUPPORT OF DEFENDANTS’ AMENDED MOTION TO
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      Pursuant to Federal Rules of Civil Procedure 12(b)(2) and 12(b)(7),

Defendant DRE Health Corp. 1, DRE Health Corporation (“DRE Health”), A. Isaac

Bawany (“Bawany”), and Sacatelle Holdings LLC (“Sacatelle”) (collectively,

“Defendants”) respectfully move this Court to dismiss the Complaint in its entirety

for lack of personal jurisdiction and for failure to join necessary and indispensable

parties. In addition, Mr. Bawany also respectfully moves the Court to dismiss

pursuant to Federal Rule of Civil Procedure 12(b)(6) for failure to state a claim

against him in his personal capacity.

      As demonstrated below, no Defendant here is subject to general or specific

jurisdiction in this case. Plaintiff’s allegations of personal jurisdiction are deficient

because they are conclusory and improperly lump all of the Defendants together.

(ECF No. 1 at ¶¶ 9−10.) The Complaint also fails to specify whether Plaintiff

contends that Defendants are subject to general or specific jurisdiction. Either

way, a finding of jurisdiction is inappropriate.

      Defendants are not subject to general jurisdiction because they do not have

“continuous and systematic” contacts with Georgia such that any of them are

“essentially at home” in Georgia. No Defendant is domiciled or resides in
1
  Defendant DRE Health Corp.’s registration with the Kanas Secretary of State was
intended as a foreign qualification for DRE Health Corporation rather than the
creation of a new, separate entity. (Declaration of A. Isaac Bawany, ¶¶ 2−3
(“Bawany Decl.”).) DRE Health Corp. has never conducted any business separate
and apart from DRE Health and was administratively dissolved on May 13, 2021.
(Bawany Decl. ¶ 4.)

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Georgia, is registered to business in Georgia, or has a principal place of business in

Georgia.

      Nor is any Defendant subject to specific jurisdiction. No Defendant has the

requisite “minimum contacts” with Georgia. DRE Health has never manufactured,

sold, or marketed any products in Georgia, let alone the products accused in the

Complaint. Mr. Bawany has never undertaken, let alone directed, a single activity

of any sort in Georgia. Sacatelle made only one sale of the accused products in

Georgia – but that was a sham purchase orchestrated by Plaintiff’s Chief Executive

Officer, apparently to try to manufacture personal jurisdiction. The Complaint

should be dismissed for lack of personal jurisdiction over any Defendant.

      The Complaint also should be dismissed for the independently sufficient

reason that Plaintiff failed to join two indispensable parties – Delta Hospital

Supply, Inc. (“Delta Hospital”) and Delta Medical Supply Group, Inc. (“Delta

Supply”). Delta Hospital and Delta Supply are co-owners of the registered

NITREX trademark that Plaintiff alleges was infringed by Defendants. The

Complaint simply ignores these two co-owners, and Plaintiff has refused

Defendants’ repeated requests for documentation showing that Plaintiff has

standing, by itself, to bring and maintain this action on behalf of all three owners.

As co-owners of the asserted trademark, Delta Hospital and Delta Supply are

necessary and indispensable parties, and, because they cannot be joined as


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involuntary plaintiffs, the Court also should dismiss the Complaint under Federal

Rule of Civil Procedure 19.

      Finally, Plaintiff has done nothing more than baldly allege that Mr. Bawany

is the Chief Executive Officer of DRE Health and is “directing the companies’

infringing activities.” Because those conclusory allegations are insufficient to state

a claim under Rule 12(b)(6), Fed. R. Civ. P., Mr. Bawany should be dismissed on

this ground as well.

I.    BACKGROUND
      On April 23, 2003, “The Delta Group (A Joint Venture)” comprised of

Plaintiff Delta Medical Systems, and non-parties Delta Hospital and Delta Supply,

filed an application to register NITREX as a trademark in connection with gloves

with the United States Patent and Trademark Office (“USPTO”). (Declaration of

Kerry A. Barrett (“Barrett Decl.”) ¶ 2.) On October 23, 2003, the USPTO

Examining Attorney entered an Examiner’s Amendment “[i]n accordance with the

authorization granted by Dorian Kennedy” to classify the applicants as “joint

applicants” rather than as a “joint venture.” (Barrett Decl. ¶ 3.) On March 23,

2004, the USPTO issued U.S. Registration No. 2,824,773 for the trademark

NITREX to Plaintiff, Delta Hospital, and Delta Supply as three separate and joint

owners. (ECF No. 1-1.)




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         DRE Health is a healthcare consumables manufacturer and provides its

clients with high-quality medical equipment, instruments, and supplies. (Bawany

Decl. ¶ 9.) Mr. Bawany is the Chief Executive Officer of DRE Health. (Id. ¶ 1.)

Sacatelle is a custom bag and packaging distributor. (Declaration of Isaac Schwerd

(“Schwerd Decl.”) ¶ 3.)

         In response to the urgency of the COVID-19 pandemic, Sacatelle began

supplying its customers with personal protective equipment (“PPE”) and other

COVID-19 related products. (Id. ¶ 16.) On February 2, 2021, DRE Health sold

the accused NITEREX gloves to Sacatelle with the understanding that Sacatelle

was going to sell them only to the New Jersey State Troopers. (Bawany Decl.

¶ 29.)

         After receiving a mailchimp email marketing the NITEREX gloves, Tom

Brooks placed an order for NITEREX gloves on March 23, 2021 (Id. ¶ 17.) Tom

Brooks is the Chief Executive Officer, Chief Financial Officer, and registered

agent of Plaintiff. (Barrett Decl. ¶ 4.) Other than this one sale to Mr. Brooks,

Sacatelle has not sold any other accused gloves in Georgia. (Schwerd Decl. ¶ 17.)

         On April 12, 2021, DRE Health received a cease-and-desist letter from

Plaintiff. That same day, DRE Health responded, in part, by asking Plaintiff to

explain its relationship with the other two co-owners, Delta Hospital and Delta

Supply. (Barrett Decl. ¶ 5.) Plaintiff did not respond to DRE Health’s letter and


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instead filed the Complaint without joining either of the other two co-owners of the

asserted trademark as plaintiffs in this case. (ECF No. 1.)

      DRE Health asked Plaintiff three more times (on April 30, May 20, and

May 26, 2021) to provide adequate assurances and documents substantiating that

Plaintiff, by itself, has the full and exclusive authority to enforce the trademark and

does not need to join the other two co-owners. (Barrett Decl. ¶ 5.) However,

Plaintiff failed to provide satisfactory assurances and documentation that all

necessary parties are present in this action. (Id. ¶ 6.)

II.   LEGAL STANDARD

      A. Personal Jurisdiction
      Plaintiff has the burden of offering “substantial evidence” demonstrating that

personal jurisdiction is appropriate. Consol. Dev. Corp. v. Sherritt, Inc., 216 F.3d

1286, 1291 (11th Cir. 2000); see AT&T Mobility LLC v. C & C Glob. Enters., LLC,

No. 1:06-CV-2733-TWT, 2007 WL 2001736, at *3 (N.D. Ga. Jul. 3, 2007)

(holding corporate officer defendant was not subject to personal jurisdiction when

plaintiff did not present “substantial evidence” that defendant had connections with

forum state). Notably, a plaintiff does not get the benefit of any inferences on any

allegation that, as here, defendants have refuted with specific evidence. See U.S.

Pharm. Corp. v. Breckenridge Pharm., Inc., No. 1:09-CV-2050-TWT, 2010 WL

3731112, at *3–5 (N.D. Ga. Sep. 16, 2010) (finding no personal jurisdiction over a



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defendant when the jurisdictional allegations in the complaint were specifically

contradicted by the defendant’s uncontroverted personal declaration).

      To demonstrate that personal jurisdiction is appropriate in Georgia, a

plaintiff must show both that Georgia’s long-arm statute is satisfied and that

exercising such jurisdiction satisfies the requirements of the Due Process Clause.

See Burgess v. Religious Tech. Ctr., Inc., 600 F. App’x 657, 660 (11th Cir. 2015).

The Georgia Supreme Court has made clear that the long-arm statute imposes

requirements independent of federal due process standards. See Innovative

Clinical & Consulting Servs., LLC v. First Nat’l Bank of Ames, Iowa, 279 Ga. 672,

676 (2005). Georgia’s long-arm statute provides for personal jurisdiction over a

nonresident defendant if:

      [I]n person or through an agent, he or she: (1) Transacts any business
      within this state; (2) Commits a tortious act or omission within this
      state . . .; [or] (3) Commits a tortious injury in this state caused by an
      act or omission outside this state if the tort-feasor regularly does or
      solicits business, or engages in any other persistent course of conduct,
      or derives substantial revenue from goods used or consumed or
      services rendered in this state.

O.C.G.A. § 9–10–91(1)–(3).

      Further, before a court may exercise personal jurisdiction over a foreign

defendant, such as each Defendant in this case, federal due process requires that

“the defendant ha[ve] certain minimum contacts” with the forum state “such that

the maintenance of the suit does not offend traditional notions of fair play and



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substantial justice.” Goodyear Dunlop Tires Operations, SA v. Brown, 564 U.S.

915, 923 (2011). In attempting to demonstrate jurisdiction, a plaintiff can invoke

one of two categories of personal jurisdiction: general, “all purpose” jurisdiction or

specific, case-linked jurisdiction. Walden v. Fiore, 571 U.S. 277, 283 n.6 (2014).

Plaintiff here can do neither.

      B. Failure To Join Necessary And Indispensable Parties
      Rule 12(b)(7) of the Federal Rules of Civil Procedure allows for dismissal

for “failure to join a party under Rule 19.” Rule 19 provides a two-part test to

determine whether an action should proceed in a non-party’s absence. First, the

Court must determine whether the non-party is “necessary” to the action. Fed. R.

Civ. P. 19(a)(1); Focus on the Family v. Pinellas Suncoast Transit Auth., 344 F.3d

1263, 1280 (11th Cir. 2003) (citations omitted). Second, if the party is found to be

necessary, the Court must then determine whether joinder of the necessary party is

feasible and, if not, whether, under Rule 19(b)’s four-factor test, the action should

be dismissed due to that party’s absence – i.e., whether that party is indispensable.

Fed. R. Civ P. 19(b); Laker Airways, Inc. v. British Airways, PLC, 182 F.3d 843,

847 (11th Cir. 1999). In this case, Plaintiff has not joined its co-owners, Delta

Hospital and Delta Supply, both of which are necessary and indispensable parties.

Accordingly, Plaintiff’s claims should be dismissed for this independently

sufficient reason as well.



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       C. Failure To State A Claim
       Plaintiff’s claims against Mr. Bawany in his personal capacity fare no better.

“Threadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice.” Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009); Bell Atl. Corp. v . Twombly, 550 U.S. 544, 555 (2007) (“[A] plaintiff’s

obligation to provide the grounds of his entitlement to relief requires more than

labels and conclusions”). Accordingly, the claims against Mr. Bawany in his

personal capacity also should be dismissed for this additional reason.

III.   ARGUMENT

       A. The Court Lacks Personal Jurisdiction Over Defendants
       Plaintiff must show that the exercise of jurisdiction over Defendants is

proper under both the Georgia long-arm statute and the Due Process Clause.

Diamond Crystal Brands, Inc. v. Food Movers Int’l, Inc., 593 F.3d 1249, 1263

(11th Cir. 2010) (“[C]ourts must apply the specific limitations and requirements of

O.C.G.A. § 9–10–91 literally and must engage in a statutory examination that is

independent of, and distinct from, the constitutional analysis to ensure that both,

separate prongs of the jurisdictional inquiry are satisfied.”) (internal quotation

marks omitted). Plaintiff has done neither. Indeed, the Complaint does not even

reference the Georgia long-arm statute, specify which subsection Plaintiff claims

applies, or allege any facts that would support personal jurisdiction. (ECF No. 1.)



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      Nor can Plaintiff meet its burden here. Neither DRE Health nor Mr. Bawany

has conducted any business in Georgia; manufactured, sold, or marketed any

products in Georgia; owned any assets, bank accounts, or other tangible or real

property in Georgia; performed any operations in Georgia; or derived any revenue

from any services rendered in Georgia. (Bawany Decl. ¶¶ 10, 15, 24, 26, 28, and

36.) See O.C.G.A. § 9-10-91. Sacatelle similarly lacks any contact with Georgia,

except for a handful of de minimis activities including a single sale of the accused

products based upon Plaintiff’s phony conduct, which under the law cannot give

rise to jurisdiction. (Schwerd Decl. ¶ 17−19.; see Section III (A)(2)(c) infra.)

      Because Sacatelle’s single sale of the accused products in Georgia was a

sham transaction triggered by Plaintiff’s CEO, Sacatelle cannot be said to have

purposefully “transacted any business” within Georgia, as required by the Georgia

long-arm statute. Sanho Corporation v. Kaijet Technology et al., Case No. 1:18-

cv-05385-SDG, 2021 WL 2355096, at *7 (N.D. Ga. Jun. 9, 2021); Aero Toy Store,

LLC v. Grieves, 279 Ga. App. 515, 517-18 (2006). Moreover, even if the accused

gloves infringe Plaintiff’s asserted trademark (which Defendants deny), no tortious

act occurred in Georgia because Plaintiff cannot legitimately claim to be confused

as to the source of the products at issue. See, e.g., Mattel v. Anderson, No. 04 Civ.

5275(RCC), 2005 WL 1690528, at *2 (S.D.N.Y. Jul. 18, 2005) (holding that

purchase on behalf of plaintiff did not confer specific jurisdiction because the


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purchase “ha[d] nothing to do with” the trademark infringement claims since the

purchaser “cannot claim to have been confused as to with whom he was dealing”).

       Likewise, Sacatelle’s mailchimp email is not sufficient to confer jurisdiction.

Georgia law is clear that the act of sending an online communication occurs in the

place from where that communication is sent. Huggins v. Boyd, 304 Ga. App. 563,

565 (2010) (finding that the conduct giving rise to the offense “occurred at the

physical place where [the defendant] typed in and sent his emails,” and therefore

the defendant’s conduct failed to satisfy the Georgia long-arm statute).

Accordingly, the Court does not have jurisdiction under Georgia’s long-arm

statute.

       Plaintiff also failed to show, as it must, that this Court’s exercise of personal

jurisdiction comports with due process. See Cable/Home Commc’n Corp. v.

Network Prods., 902 F.2d 829, 857 (11th Cir. 1990) (the mere satisfaction of the

long-arm statute does not automatically satisfy due process concerns). The

touchstone of this constitutional protection is “fair warning,” such that a

nonresident defendant can reasonably anticipate being haled into court in that

forum. PVC Windoors, Inc. v. Babbitbay Beach Const., N.V., 598 F.3d 802, 811

(11th Cir. 2010) (citing Burger King Corp. v. Rudzewicz, 471 U.S. 462, 472

(1985)). Defendants had no fair warning here.




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      Finally, when, as here, the factual allegations in a complaint lumps all the

defendants together “as taking some action without specifying the role or acts of

any individual [d]efendant” and each count refers only to [d]efendants,” these

allegations are insufficient to “sustain [p]laintiff’s initial burden of showing

[defendant’s] minimum contacts with the State of Georgia.” Brazil v. Janssen

Research & Dev. LLC, 249 F. Supp. 3d 1321, 1331−32 (N.D. Ga. 2016) (granting

Rule 12(b)(2) motion and collecting cases); Sanho Corporation, 2021 WL

2355096, at *4 (same); Knieper v. Forest Group USA, Inc., No. 4:15-CV-00222-

HLM, 2016 WL 9450454, at *5 (N.D. Ga. Mar. 3, 2016) (citing Phillips v.

Scientific Atlanta, Inc., 374 F.3d 1015, 1019 (11th Cir. 2004)).

          1. Defendants Are Not Subject To General Jurisdiction
      Plaintiff has not alleged and cannot demonstrate that Defendants are subject

to general jurisdiction in Georgia. (ECF No. 1 ¶¶ 9−10). DRE Health and

Mr. Bawany lack any contact with Georgia. (Bawany Decl. ¶¶ 10−18; 24−28.)

Sacatelle made only one sale of the accused NITEREX gloves in Georgia, and that

was the sale to Plaintiff’s CEO. (Schwerd Decl. ¶ 17; Barrett Decl. ¶ 4.) In 2021,

Sacatelle made only 6 other sales to customers in Georgia, for a total of

$13,885.78, and no sales into Georgia in 2020. (Schwerd Decl. ¶ 18.) This de

minimis contact is not so “continuous and systematic” as to meet the high standard




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required for general jurisdiction. Fraser v. Smith, 594 F.3d 842, 850 (11th Cir.

2010). General jurisdiction does not exist over any Defendant here.

          2. Defendants Are Not Subject To Specific Jurisdiction
      Plaintiff also cannot demonstrate that any Defendant is subject to specific

jurisdiction in Georgia. Specific jurisdiction refers to the Court’s power over

“disputes that ‘arise out of or are connected with the activities within the state.’”

J. McIntyre Mach., Ltd. v. Nicastro, 564 U.S. 873, 881 (2011) (Kennedy, J.,

plurality op.). Plaintiff cannot establish either purposeful direction or that its

claims arise out of any legitimate, non-manufactured forum-related activities.

Either deficiency, alone, precludes a finding of specific jurisdiction.

             a. DRE Health Is Not Subject To Specific Jurisdiction
      Plaintiff has not shown and cannot show that DRE Health has committed

any acts expressly aimed at Georgia such that DRE Health had “fair warning” of

being haled into Court here. DRE Health has never manufactured or sold any

products in Georgia; does not perform any of its operations in Georgia; does not

conduct any business in Georgia; and does not direct any marketing, advertising, or

other promotional activity toward any resident of Georgia. (Bawany Decl. ¶¶ 10,

15, 17, and 26). Given DRE Health’s total lack of contact with Georgia, the most

Plaintiff could allege (which it has not and could not credibly do) is that somehow




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DRE Health expressly aimed conduct at Georgia because it sells goods in the

United States generally. Such a stream of commerce theory is unavailing because:

      “merely placing goods into the stream of commerce with the
      knowledge that the goods may end up in the forum state does not
      constitute purposeful availment so as to establish personal
      jurisdiction: “[t]he defendant’s transmission of goods permits the
      exercise of jurisdiction only where the defendant can be said to have
      targeted the forum; as a general rule, it is not enough that the
      defendant might have predicted that its goods will reach the forum
      State.”
Ouashie v. Olympus Am., Inc, 315 F. Supp. 3d 1329, 1338 (N.D. Ga. 2018)

(quoting J. McIntyre Mach., Ltd. 564 U.S. at 881). And Plaintiff cannot

legitimately latch onto the single Sacatelle sale of accused products in Georgia

because (1) that was a sham transaction which is insufficient to confer jurisdiction

and (2) DRE Health authorized Sacatelle to sell those products only to the New

Jersey State Troopers. (Bawany Decl. ¶ 29) DRE Health has not expressly aimed

any activities at Georgia and specific jurisdiction over DRE Health does not exist.

             b. Mr. Bawany Is Not Subject To Specific Jurisdiction
      Plaintiff similarly has made no showing that the exercise of personal

jurisdiction over Mr. Bawany is appropriate. Nor can it. Mr. Bawany is not a

resident of Georgia, does not maintain a telephone number or mailing address in

Georgia, has never been to Georgia for the purpose of conducting business, is not

employed in Georgia, does not derive any income from activity in Georgia, and

does not pay taxes in Georgia. (Bawany Decl. ¶¶ 31, 32, 34, 35, and 36.) Indeed,


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other than occasionally traveling through Hartsfield–Jackson Atlanta International

Airport en route to his final destination, Mr. Bawany has been in Georgia only one

time in his life, and that was for a social visit in early 2017. (Id. ¶ 33.)

      Instead, Plaintiff alleges that Mr. Bawany is the Chief Executive Officer of

DRE Health. (ECF No. 1 ¶ 21) That is true, but irrelevant. Mr. Bawany’s

employment with the out-of-state Defendant DRE Health does not confer

jurisdiction over him as an individual. See Foxworthy v. Custom Tees, Inc., 879

F.Supp. 1200, 1206 (N.D. Ga. 1995) (“[I]f the claim against the corporate agent

rests on nothing more than that he is an officer or employee of the nonresident

corporation and if any connection he had with the commission of the tort occurred

without the forum state, then jurisdiction does not attach and the ‘shield’ was not

needed in the first place”) (internal citations omitted); see also Girard v. Weiss,

160 Ga. App. 295, 287 S.E.2d 301 (1981) overruled on other grounds by

Amerireach.com, 290 Ga. 261 (finding no personal jurisdiction over corporate

officer when the corporation transacted business within forum state, but officer had

no contacts with forum state). Moreover, and as discussed above, DRE Health

itself does not have any contacts with Georgia because it does not manufacture,

sell, market, advertise, or promote any product in Georgia, let alone the product

accused in this case. (Bawany Decl. ¶¶ 15 and 17.) Mr. Bawany’s employment




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thus has no bearing on whether this Court can assert jurisdiction over Mr. Bawany

as an individual.

      Moreover, even if Plaintiff were correct that Mr. Bawany “is directing the

companies’ infringing activities,” that would still be irrelevant as to the Court’s

ability to exercise jurisdiction over Mr. Bawany. While a Lanham Act claim can

be brought against a corporate officer under appropriate circumstances, that

corporate officer is not subject to jurisdiction merely because he allegedly

“directed” sales activities. See U.S. Pharm. Corp., 2010 WL 3731112, at *4

(“Were it enough . . . to allege that [individual Defendant] ‘directed’ [the corporate

Defendant’s] sales activities, personal jurisdiction over corporate officers would be

coextensive with that of their corporate employers wherever those officers

‘directed’ corporate business. This is contrary to [Georgia Supreme Court law].”).

In U.S. Pharm. Corp., the court dismissed claims against an individual defendant

because the complaint in that case, as the Complaint here, merely alleged that the

individual defendant “directed” activities that reached Georgia, but did not allege

the required “substantial evidence that [the individual Defendant] himself engaged

in conduct related to Georgia.” Id. at *4; see also AT&T Mobility LLC, 2007 WL

2001736, at *3 (holding corporate officer defendant not subject to personal

jurisdiction when plaintiff did not present “substantial evidence” that defendant




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had connections with forum state). In sum, there is no basis to properly exercise

jurisdiction over Mr. Bawany in his personal capacity.

             c. Sacatelle Is Not Subject To Specific Jurisdiction
      Specific jurisdiction also is lacking over Sacatelle. Sacatelle is not

registered to do business in Georgia, does not have a registered agent for service of

process in Georgia, does not have any employees in Georgia, and does not

maintain an office or other place of business in Georgia. (Schwerd Decl. ¶¶ 4−6.)

As reflected in Plaintiff’s redacted Exhibits B and E and to the Complaint,

Sacatelle made a single sale of accused gloves into Georgia. But as shown in the

unredacted version of this invoice, however, this lone sale was made to Tom

Brooks; the Chief Executive Officer, Chief Financial Officer, and registered agent

of Plaintiff. (Id. ¶ 17; Barrett Decl. ¶ 4.)

      As a matter of established law, a trademark owner cannot artificially

“manufacture” a sale in order to create personal jurisdiction. That is, a trademark

owner cannot place an order with defendant and then rely on that sale as the basis

for filing suit in the trademark owner’s home forum. Simpson Performance

Products, Inc. v. Wagoner, Case No. 5:15-CV-26, 2015 WL 13619480, at *2

(W.D.N.C. 2015) (“A plaintiff may not manufacture jurisdiction by purposefully

engaging in purchases.”); ISI Brands, Inc. v. KCC Intern., Inc., 458 F. Supp. 2d 81,

83 U.S.P.Q.2d 1942 (E.D.N.Y. 2006) (granting dismissal for lack of personal



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jurisdiction when Florida defendant’s only contact with the state of New York was

as a result of the two orders placed by plaintiff); see Clarus Transphase Scientific,

Inc. v. Q-Ray, Inc., No. C 06-3450 JF (RS), 2006 WL 2374738, at *3 n. 4 (N.D.

Cal. Aug. 16, 2006) (“A plaintiff cannot manufacture personal jurisdiction in a

trademark case by purchasing the accused product in the forum state”); Jell-E-Bath

Inc. v. Crystal Mud Spa, No. 05-1703-KI, 2006 WL 1305113, at *3 (D. Or. May 8,

2006) (“Plaintiff cannot manufacture personal jurisdiction”); Edberg v. Neogen

Corp., 17 F.Supp. 2d 104, 112 (D. Conn. 1998) (holding that sale initiated by

plaintiff did not support jurisdiction because “under such circumstances a

defendant cannot be said to have purposefully availed itself of the forum”); Elbex

Video Kabushiki Kaisha v. Taiwan Regular Elec. Co., 93 Civ. 6160 (KMW), 1995

WL 224774, at *2–3 (S.D.N.Y. Apr. 14, 1995) (holding that exercise of

jurisdiction based on single sale arranged by plaintiff “would offend traditional

notions of ‘fair play and substantial justice.’”)

      Perhaps to obscure the true nature of the purchase even further, Mr. Brooks

placed his order under the auspices of a company named Cleaning Technologies.

But whatever Mr. Brooks’ motivation for doing so, Plaintiff cannot evade

dismissal on these grounds. See Trek Bicycle Corp. v. Trek Winery LLC, 93

U.S.P.Q. 2d 2001, 2010 WL 744252 (W.D. Wis. 2010) (finding a sale to spouse of

plaintiff’s employee does not count because it occurred only because plaintiff


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sought out defendant.). Moreover, jurisdiction “depends on an ‘affiliation between

the forum and the underlying controversy.’” Goodyear, 564 U.S. at 919. Because

“the defendant’s conduct that must form the necessary connection with the forum

State,” the plaintiff “cannot be the only link between the defendant and the forum.”

Walden, 571 U.S. at 285.

      For these reasons, exercising personal jurisdiction over any Defendant under

the circumstances of this case would plainly offend traditional notions of fair play

and substantial justice, Plaintiff’s Complaint should be dismissed in its entirety for

lack of personal jurisdiction.

      B. Plaintiff Also Failed To Join Indispensable Parties
      Dismissal also is warranted under a separate and distinct jurisdictional basis;

Plaintiff failed to join the other two co-owners of the asserted trademark

registration. Classifying trademark owners as necessary and indispensable parties

is important for several reasons. First, it protects the absent trademark owners

from the estoppel effect of a judgment in which they did not participate. Second, it

protects Defendant’s interest in avoiding multiple suits (even if it settles with one

of the co-owners) concerning the same basic facts. Finally, it protects the Court’s

and the public’s interest in efficiently utilizing judicial resources.

      Delta Hospital and Delta Supply, as co-owners of the NITREX trademark,

are necessary and indispensable parties in this case. There is no evidence in the



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USPTO’s records that either Delta Hospital or Delta Supply assigned their

ownership interests to Plaintiff, and Plaintiff has refused to provide such evidence

despite repeated requests by Defendants.2 (Barrett Decl. ¶ 6.)

          1. The Absent Co-Owners Of The NITREX Trademark Registration
             Are Necessary Parties To This Action
      “[A]n action for infringement must join as plaintiffs all co-owners.”

Ethicon, Inc. v. United States Surgical Corp., 135 F.3d 1456, 1467 (Fed. Cir.

1998); see also EMD Crop Bioscience Inc. v. Becker Underwood, Inc., 750 F.

Supp. 2d 1004, 1014 (W.D. Wis. 2010) (“If the non-party co-owner has not

transferred all substantial rights, it is a necessary party to the infringement case.”)

(internal quotes omitted).

      This principle applies to all intellectual property infringement actions,

including trademark infringement actions. See, e.g., May Apparel Group, Inc. v.

Ava Import-Export, Inc., 902 F. Supp. 93, 96 (M.D.N.C. 1995); see also Earl v.

Peverett, 20 U.S.P.Q.2d 1559, 1560 (S.D.N.Y. 1991); Shima Am. Corp. v. S.M.

Arnold, Inc., No. 88 C 10064, 1989 WL 65014, at *2 (N.D. Ill. Jun. 7, 1989); JTG

of Nashville, Inc. v. Rhythm Band, Inc., 693 F. Supp. 623, 626–27 (M.D. Tenn.

1988); Discount Muffler Shop, Inc. v. Meineke Realty Corp., Inc., 535 F. Supp.

2
  In a good faith attempt to resolve this issue without resorting to motion practice,
Defendants asked, on at least four separate occasions, whether Plaintiff would
provide documentary evidence substantiating Plaintiff’s claim that it had full and
exclusive authority to enforce the trademark on behalf of each co-owner. Plaintiff
failed to provide such documentary evidence. (Barrett Decl. ¶ 6.)

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439, 449 (N.D. Ohio 1982); Pure Food Prod., Inc. v. Am. Bakeries Co., No. 72 C

2017, 1972 WL 19316, at *1 (N.D. Ill. Nov. 28, 1972).

      Indeed, it would be extraordinary to find that Delta Hospital and Delta

Supply are not necessary parties. Golden Temple of Oregon, LLC v. Wai Lana

Productions, LLC, No. 09-cv-902(HZ), 2011 WL 6070385, at *2 (D. Or. Dec. 5,

2011) (“Parties do not cite, and I have yet to find, a case in which the trademark

owner was not necessary in an action for infringement”). As co-owners of the

NITREX trademark, Delta Hospital and Delta Supply have strong interests in the

outcome of this litigation and are necessary parties. And, as explained above, the

Defendants, the Court, and the public also have strong interests in litigating this

dispute only one time.

          2. The Co-Owners May Not Be Forcibly Joined As Parties
      “Rule 19 does not permit the involuntary joinder of a patent co-owner in an

infringement suit brought by another co-owner.” DDB Techs., L.L.C. v. MLB

Advanced Media, L.P., 517 F.3d 1284, 1289 n.2 (Fed. Cir. 2008). When

considering the issue of co-ownership in patent cases, courts in this District have

followed Federal Circuit rulings that “because [the two absent co-owners] retained

substantial rights in the [patent], [the plaintiff] did not have standing to sue solely

in its own name for infringement.” Merial Ltd. v. Intervet Inc., 430 F.Supp.2d

1357, 1364 (N.D. Ga. 2006) (citing Ethicon, Inc., 135 F.3d at 1468).



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      This principle applies in equal measure to trademark actions. See Shima Am.

Corp., 1989 WL 65014, at *4 n.1 (“Rule 19 principles developed in the context of

patent actions are wholly applicable to trademark actions.”); Pure Food Prod.,

Inc., 1972 WL 19316, at *1 (“There is little authority on the question of who must

be joined in trademark infringement actions, but the few decided cases indicate that

the same general rules developed in patent and copyright litigation should be

applied here.”). In this case, there is no evidence -- or even an allegation -- that the

absent co-owners Delta Hospital and Delta Supply did not retain their substantial

rights in the trademark asserted here. Consequently, the Court should not mandate

the involuntary joinder of Delta Hospital and Delta Supply pursuant to Rule 19.

          3. This Action Cannot Proceed In The Absence Of The Co-Owners,
             And The Co-Owners Are Therefore Indispensable Parties
      Faced with necessary parties that cannot be joined, the Court must decide

whether Delta Hospital and Delta Supply are indispensable, such that “in equity

and good conscience” the action should be dismissed. Fed. R. Civ. P. 19(b).

“Courts that have faced the issue have treated trademark owners as indispensable

for Rule 19 purposes in infringement actions.” Earl, 20 U.S.P.Q.2d at 1560 (citing

JTG of Nashville, Inc., 693 F.Supp. at 626–28); see also Ferrer v. Hollywood for

Children, Case No. 2:17-CV-7318-CBM-FFMm, 2018 WL 5267084 (C.D. Cal.

Mar. 14, 2018) (finding trademark co-owner an indispensable party and granting

motion to dismiss); Jaguar Cars Ltd. v. Manufactures Des Montres Jaguar, 196


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F.R.D. 306, 308 (E.D.Mich. 2000) (granting motion to dismiss claims based upon a

mark whose owner was not a party).

       Any judgment affecting the validity or infringement of the NITREX

trademark would prejudice the rights of the absent co-owners. The Complaint

invites such prejudice by seeking to hold Defendants liable for “infringement of a

federally registered trademark” and the other claims related thereto. In defending

against such claims Defendants will assert, inter alia, that the trademark

registration is invalid and subject to cancellation. Because such a ruling would

affect the entire registration, not just Plaintiff’s interest, it would be nearly

impossible to lessen or avoid any prejudice to Delta Hospital and Delta Supply that

would result from the NITREX trademark registration being cancelled. Similarly,

Delta Hospital and Delta Supply have a right to prosecute the infringement claims.

It thus also would be unfairly prejudicial for the infringement case to proceed

without the participation of these co-owners.

       Further, Defendants are exposed to risk of multiple obligations in the

absence of Delta Hospital and Delta Supply. For example, if the jury found

Defendants do not infringe the NITREX trademark, that finding would be binding

only on Plaintiff. See Int’l Importers, Inc. v. Int’l Spirits & Wines, LLC, No. 10-

61856-CIV, 2011 WL 7807548, at *8 (S.D. Fla. Jul. 26, 2011) (“The defendants

may be at risk of multiple obligations. The jury could find that the defendants did


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not infringe the [] trademark. That judgment would only be binding on the

plaintiff. It would not bar [co-owner’s] successors from suing the defendants for

infringement of the instant mark.”). Delta Hospital or Delta Supply could then

initiate another, substantively identical suit against Defendants. That would be

blatantly unfair, as well as promote judicial inefficiency.

      Finally, because Plaintiff’s claims under the Lanham Act and its claims

under state law are premised on the same assertions and are to be resolved

according to the same principles, these claims should likewise be dismissed based

on Plaintiff’s failure to name Delta Hospital and Delta Supply as co-plaintiffs. See

Valencia v. Universal City Studios LLC, No. 1:14-CV-00528-RWS, 2014 WL

7240526, at *5 (N.D. Ga. 2014) (finding that plaintiff’s state law claim under

O.C.G.A. § 10–1–451(b) rise and fall with plaintiff’s federal trademark claims);

Energy Four, Inc. v. Dornier Med. Sys., Inc., 765 F.Supp. 724, 731 (N.D. Ga.

1991) (finding that the Georgia Uniform Deceptive Trade Practices Act involves

the same dispositive questions as the federal Lanham Act, and the court’s analysis

under the Lanham Act will dispose of the state law issues). Indeed, the congruence

of the claims assures that the same prejudice resulting from proceeding without

Delta Hospital and Delta Supply under the Lanham Act would be mirrored in the

state and common law claims.




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      Because the outcome of this dispute may affect the trademark rights of the

co-owners and because Defendants may face multiple lawsuits, Defendants

respectfully urge the Court to conclude that Delta Hospital and Delta Supply, as

co-owners of the asserted NITREX trademark, are indispensable parties, and that

this action cannot proceed in equity and good conscience in their absence.

      C. Plaintiff Has Failed To State A Claim Against Mr. Bawany In His
         Personal Capacity
      Mr. Bawany’s title of Chief Executive Officer cannot by itself, give rise to

his individual liability. Plaintiff’s sole and conclusory allegation, upon

information and belief, that “Defendant Bawany is the chief executive officer of

both DRE Health and DHC and is directing the companies’ infringing activities as

set forth in this Complaint” (ECF No. 1 ¶ 21) is insufficient to state a claim. See,

e.g., Steven Madden, Ltd. v. Jasmin Larian, LLC, Case No. 18 Civ. 2043, 2019 WL

294767, at *5 (S.D.N.Y. 2019)(dismissing trademark claims against corporate

officer because the “the assertions contain no factual allegations as to [officer’s]

specific role in the purported infringement [], but merely state conclusory

allegations that conflate the Company’s actions with [officer’s] own.); Carell v.

Shubert Org., Inc., 104 F. Supp. 2d 236, 271 (S.D.N.Y. 2000) (dismissing

trademark infringement claims against individual defendants when complaint

identified defendants’ job titles and alleged defendants’ involvement in company’s

infringement but provided no details or description of concrete acts to demonstrate


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personal liability). A complaint providing mere “labels and conclusions,”

“formulaic recitation[s] of the elements of a cause of action,” or “naked assertions

devoid of further factual enhancement” will not suffice. Simpson v. Sanderson

Farms, Inc., 744 F.3d 702, 708 (11th Cir. 2014) (quoting Iqbal, 556 U.S. at 678).

      Plaintiff has alleged no facts demonstrating Mr. Bawany’s involvement.

This is fatal to Plaintiff’s cause of action against Mr. Bawany, and the Complaint

should be dismissed against Mr. Bawany for this reason as well.

IV.   CONCLUSION
      For the reasons set forth above, Defendants respectfully request that the

Court grant their Motion to Dismiss the Complaint in its entirety.



Dated: June 14, 2021                       Respectfully submitted,
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                         CERTIFICATE OF COMPLIANCE


      In accordance with Local Rule 7.1D, the undersigned hereby certifies that

the foregoing document has been prepared in accordance with the font type and

margin requirements of Local Rule 5.1 of the Northern District of Georgia, using a

font type of Times New Roman and a point size of 14.




                                          By: /s/ Ryan K. Walsh
                                             Ryan K. Walsh
                                          Attorney for Defendants DRE Health
                                          Corp., DRE Health Corporation, Ahmed
                                          Isaac Bawany, and Sacatelle Holdings,
                                          LLC




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                         CERTIFICATE OF SERVICE

            I hereby certify that on June 14, 2021, I electronically filed the

foregoing document with the Clerk of the Court using CM/ECF. I also certify that

the foregoing document is being served this day upon all attorneys of record via

transmission of Notices of Electronic Filing generated by CM/ECF.


Dated: June 14, 2021                      Respectfully submitted,

                                          /s/ Ryan K. Walsh
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